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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


JAN STEINHAUER,

             Plaintiff(s),

      V.                                               CASE NO. 15-12560
                                                       HON. LINDA V. PARKER

PLAZA RECOVERY, INC.,

             Defendant(s).
                                         /

                                 ORDER OF DISMISSAL


      The Plaintiff having filed a Notice of Voluntary Dismissal [DOC 4] on September 1,

2015; Accordingly, the above-entitled action is DISMISSED WITH PREJUDICE.


                                   s/Linda V. Parker
                                   Linda V. Parker
                                   United States District Judge

Dated: September 3, 2015

I hereby certify that a copy of the foregoing document was served upon counsel of record
on September 3, 2015, by electronic and/or ordinary mail.

                                   s/Richard Loury
                                   Case Manager
